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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PULSEDATA, INC.,                                 )
                                                 )
                       Plaintiff,                )
                                                 )    Case No. 1:23 cv 3653 - JMF
         -against-                               )
                                                 )    MOTION FOR ADMISSION
JUNG HOON SON,                                   )
                                                 )           PRO HAC VICE
                       Defendant.                )

         Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York, Thomas G. Pasternak hereby moves this Court for an Order for

admission to practice Pro Hac Vice to appear as counsel for Jung Hoon Son in the above-

captioned action.

         I am in good standing of the bar of the state of Illinois and there are no pending

disciplinary proceedings against me in any state or federal court. I have never been convicted of

a felony. I have never been censured, suspended, disbarred or denied admission or readmission

by any court. I have attached the affidavit pursuant to Local Rule 1.3.

Date: July 5, 2023             Respectfully Submitted,


                               Applicant Signature:

                               Applicant Name:        Thomas G. Pasternak

                               Firm Name:             Akerman LLP

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